          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:06cr251


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
CHRISTOPHER ALLEN HUNTER.)
                          )



      THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence under 18 U.S.C. §3582(c)(2) and to Strike Illegal

Portion of Sentence [Doc. 305].

      The Defendant claims that his sentence is illegal because he was not

provided the benefit of the crack cocaine guideline amendment,

Amendment 706. That Amendment, which became effective on November

1, 2007, lowered the base offense level for most cocaine base convictions.

The Defendant was sentenced on April 23, 2008 and the 2007 edition of

the United States Sentencing Guidelines Manual was used to prepare his

presentence report. [Doc. 245, at 6]. As a result, he received the benefit of

the amendment in the calculation of his base offense level. [Id., at 7].



   Case 1:06-cr-00251-MR-WCM      Document 311   Filed 12/11/09   Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Reduction of Sentence under 18 U.S.C. §3582(c)(2) and to Strike Illegal

Portion of Sentence [Doc. 305] is hereby DENIED as moot.



                                    Signed: December 10, 2009




   Case 1:06-cr-00251-MR-WCM   Document 311    Filed 12/11/09   Page 2 of 2
